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NORTHERN DISTRICT OF TEXAS Q
IN THE UNITED STATES DISTRICT COURT JN - 8 2000
FOR THE NORTHERN DISTRICT OF [TEXAS

 

 

 

 

DALLAS DIVISION Gane, us. DISTRICT
Deputy
UNITED STATES OF AMERICA
v. NO. 3:20-CR-562-BN
PHILIP RUSSELL ARCHIBALD
MOTION FOR DETENTION

The United States moves for pretrial detention of defendant, Philip Russell
Archibald, pursuant to 18 U.S.C. § 3142(e) and (f).
1. Eligibility of Case. This case is eligible for a detention order because the case
involves (check all that apply):
___ Crime of violence (18 U.S.C. §3156);
_____ Maximum sentence life imprisonment or death
_X 10+ year drug offense
_____ Felony, with two prior convictions in above categories
__X_ Serious risk defendant will flee
______ Serious risk obstruction of justice
_____ Felony involving a minor victim
____ Felony involving a firearm, destructive device, or any other
dangerous weapon

Felony involving a failure to register (18 U.S.C. § 2250)

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2. Reason for Detention, The Court should detain defendant because there are no
conditions of release which will reasonably assure (check one or both):
__X__ Defendant’s appearance as required
__X__ Safety of any other person and the community
3. Rebuttable Presumption. The United States will invoke the rebuttable
presumption against defendant because (check one or both):
__X_ Probable cause to believe defendant committed 10+ year drug
offense or firearms offense, 18 U.S.C. § 924(c)
______ Probable cause to believe defendant committed a federal crime of
terrorism, 18 U.S.C. § 2332b(g)(5)
______ Probable cause to believe defendant committed an offense involving
a minor, 18 U.S.C. §§ 1201, 2251
_____ Previous conviction for “eligible” offense committed while on
pretrial bond
4. Time For Detention Hearing. The United States requests the Court conduct the
detention hearing,

At first appearance

X_ After continuance of _ 3 days (not more than 3).

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DATED this __ 8th

day of June, 2020.

Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

s/ Tiffany H. Eggers
TIFFANY H. EGGERS

Assistant United States Attorney
Florida Bar No. 0193968

1100 Commerce Street, Third Floor
Dallas, Texas 75242

Telephone: 214-659-8600
Facsimile: 214-659-8805

Email: Tiffany.Eggers@usdoj.gov

CERTIFICATE OF SERVICE

I hereby certify that true and correct copies of this document will hand delivered to

counsel appearing at the defendant’s initial appearance, and that a copy of the same will be

provided to the Clerk of Court.

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s/ Tiffany H, Eggers
TIFFANY H. EGGERS
Assistant United States Attorney
